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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      LUBBOCK DIVISION

ANOOSH RAKHSHANDEH                               §
                                                 §
V.                                               §       CIVIL ACTION NO. 5:20-cv-00110-BQ
                                                 §
TEXAS TECH UNIVERSITY                            §

            PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS
                    PLAINTIFF’S FIRST AMENDED COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

           Comes now Anoosh Rakhshandeh, Plaintiff, and makes and files this response to

Defendant’s motion to dismiss Plaintiff’s second amended complaint, and, in support thereof,

would respectfully show the Court as follows:

      1.      This Court has jurisdiction over this lawsuit because Plaintiff’s cause of action presents

              a federal question under Title VII of the Civil Rights Act of 1964.

      2.      Plaintiff has submitted with his response sufficient factual evidence to controvert the

              evidence submitted by Defendant, and such evidence, along with the allegations and

              claims contained in Plaintiff’s First Amended Complaint, are sufficient to demonstrate

              that the Court has jurisdiction over this case.

      3.      Plaintiff has standing to assert a cause of action for discrimination under Title VII of

              the Civil Rights Act of 1964 and the discrimination claim is ripe for review.

      4.      Plaintiff has demonstrated through his pleadings and the evidence supporting this

              response that he has suffered an actual injury and that Defendant’s discriminatory

              treatment of Plaintiff throughout his employment and in connection with Plaintiff’s

              tenure application caused Plaintiff to sustain damages in the form of economic damages
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            (including lost wages) and mental anguish.

   5.       Plaintiff’s pleadings and factual evidence demonstrate that Defendant’s conduct

            relative to Plaintiff’s tenure application constitutes a final decision the application.

   6.       Plaintiff’s lawsuit is not based solely upon a denial of tenure as alleged by Defendant

            but is, instead, based upon discrimination Plaintiff claims occurred during his

            employment with Defendant and which continued through and includes the tenure

            application process.

   7.       Plaintiff’s First Amended Complaint sets forth sufficient facts under Title VII of the

            Civil Rights Act of 1964, 42 U.S.C. §2000e et seq to satisfy the pleading requirements

            of Rule 8 of the Federal Rules of Civil Procedure.

   8.       Plaintiff’s First Amended Complaint, along with the evidence filed in support of this

            response, is sufficient to establish at this stage of the proceedings that Plaintiff was

            qualified for tenure and that he was treated differently with respect to the review of his

            tenure application relative to other comparable faculty members.

   9.       Plaintiff adopts and incorporates herein by reference the arguments set forth in

            Plaintiff’s brief in support of this response.

   10.      Plaintiff requests that, should the Court find that the pleadings are in any way deficient,

            that the Court grant leave for Plaintiff to file an amended complaint in order to cure

            any defects identified by the Court.

         WHEREFORE, Plaintiff prays that Defendant’s motion to dismiss be denied in all respects

and for such other and further relief to which Plaintiff may be justly entitled.

                                                Respectfully submitted,

                                                JOHNSTON & MILLER
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                                         By:    /s/ J. Craig Johnston
                                                J. Craig Johnston
                                                State Bar No. 0078778




                             CERTIFICATE OF SERVICE

      THIS WILL CERTIFY that a true and correct copy of this document has been served via
the CM/ECF notification system on this the 3rd day of February 2022.




                                          /s/ J. Craig Johnston
                                         J. Craig Johnston
